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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 IN RE: NATIONAL PRESCRIPTION                                    MDL NO. 2804
 OPIATE LITIGATION
                                                             Case No. 17-MD-2804
 THIS DOCUMENT RELATES TO:
                                                           Judge Dan Aaron Polster
 City of Rochester v. Purdue Pharma, L.P.,
 No. 19-op-45853 (Track 12)

 Lincoln County v. Richard S. Sackler, M.D.,
 No. 20-op-45069 (Track 13)

 City of Independence, Missouri v. Williams,
 No. 19-op-45371 (Track 14)

 County of Webb, Texas v. Purdue Pharma,
 L.P., No. 18-op-45175 (Track 15)


            OPTUMRX, INC.’S MOTION TO DISQUALIFY MOTLEY RICE

       Under Ohio Rule of Professional Conduct 1.11(c), Local Rule 83.7, and this Court’s

inherent authority, and for the reasons stated in the accompanying memorandum, OptumRx, Inc.

moves the Court to disqualify the law firm Motley Rice and its attorneys from participating in any

pending or future proceedings involving OptumRx or its parents or affiliates.


December 15, 2023.

Respectfully submitted,

 /s/ Brian D. Boone
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William H. Jordan
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                               CERTIFICATE OF SERVICE

       I certify that on December 15, 2023, a copy of the foregoing was served on all counsel of

record by filing the same with the Court’s ECF system.


                                                    /s/ Brian D. Boone
                                                      Brian D. Boone




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